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                              IN THE UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF NEW YORK

     Alcon Laboratories, Inc.,                                  Case No. 18cv407

                             Plaintiff,

             v.

     Lens.com, Inc.,                                            DEMAND FOR JURY TRIAL
                             Defendant.



                                                 COMPLAINT

             Plaintiff Alcon Laboratories, Inc. (“Alcon”) brings this action against Defendant

     Lens.com, Inc. (“Defendant” or “Lens.com”) and alleges as follows:

                                          JURISDICTION AND VENUE

             1.       This Court has subject matter jurisdiction over this action pursuant to 15 U.S.C.

     § 1121 (action arising under the Lanham Act); 28 U.S.C. § 1331 (federal question jurisdiction);

     28 U.S.C. § 1338(a) (any Act of Congress relating to trademarks); and 28 U.S.C. § 1367

     (supplemental jurisdiction).

             2.       Lens.com is subject to personal jurisdiction in this State, because Lens.com

     conducts business within this State, including shipments to individuals within this State of the

     products at issue in this case, and such conduct has caused injury to Alcon in this State. Because

     Lens.com is subject to personal jurisdiction in this State, it is subject to personal jurisdiction in

     this District.

             3.       Venue is proper in this District under 28 U.S.C. § 1391(b)(1) and (b)(2) in that a

     substantial part of the events giving rise to the claims occurred in this District and Lens.com is

     subject to personal jurisdiction in this District.




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                                                  PARTIES

            4.      Plaintiff Alcon, a division of Novartis AG, is a corporation organized and existing

     under the laws of the State of Delaware, having its corporate offices and principal place of

     business at 6201 South Freeway, Fort Worth, Texas 76134.

            5.      On information and belief, Lens.com, Inc. is a corporation organized and existing

     under the laws of the State of Nevada, having its principal place of business in Las Vegas,

     Nevada.

                                         STATEMENT OF FACTS

            A.      Alcon’s Business

            6.      Alcon was founded in 1947 in Fort Worth, Texas as a small pharmacy focused on

     sterile ophthalmic products. It has developed into a world-renowned developer and manufacturer

     of contact lenses, prescription eye care products, surgical devices for eye care practitioners, and

     over-the-counter eye care products. Its mission is to provide innovative products that enhance

     quality of life by helping people see better. Alcon’s focus is on patients, as seen in its advanced

     research and development process, as well as its high standards for manufacturing that exceed

     basic compliance needs.

            7.      Alcon is also a strong advocate for eye health. In 2017 alone, Alcon supported

     554 charitable medical missions through Alcon Cares, Inc., a U.S. foundation, serving more than

     392,000 patients around the world and facilitating approximately 34,000 surgeries. Alcon also

     offers grants through the Alcon Foundation, Inc. to advance and improve the quality of eye

     health, education, and access to care, and it has partnered for over 30 years with Orbis, an

     international charity that fights blindness, to enhance access to eye care services in the developing

     world through hands-on training and capacity building. Alcon also operates www.myeyes.com,




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     an online resource for vision care for patients that allows them to explore how the eye works and

     actively manage their ocular health.

            8.      Alcon is a leading producer of soft contact lenses in the U.S. It sells contact lenses

     under several different brands, including DAILIES®, which are its daily disposable soft contact

     lenses. U.S. consumers of Alcon products have come to expect a high level of quality from

     Alcon, due in large part to the regimented and precise manner in which the products are

     manufactured, packaged, distributed, and marketed.

            9.      Alcon has invested significant resources into conducting clinical trials of and

     obtaining FDA approval for each of its contact lens products. It has also spent over 70 years and

     millions of dollars in advertising creating consumer recognition and confidence in its brands,

     which relies in large part on recognition of, and confidence in, products bearing Alcon brand

     names. These substantial expenditures of time, money, and effort have resulted in a reputation

     for exceptionally high quality products, including contact lenses. For example, Alcon’s DAILIES

     TOTAL1® won the “Contact Lens Product of the Year” award at the U.K.’s 2014 Optician

     Awards. Its CLEAR CARE® PLUS with HYDRAGLYDE® contact lens solution was awarded

     Product of the Year in the Eye Care category of the 2016 Consumer Survey of Product

     Innovation.

            10.     Alcon vigorously protects its reputation and goodwill by maintaining the highest

     standards in products, appearance, and customer service.

            B.      Background on Contact Lenses

            11.     Today, nearly 40 million Americans wear contact lenses to correct refractive

     vision defects. Contact lenses are medical devices regulated by the U.S. Food and Drug

     Administration to ensure their safety and efficacy. According to their labeling, contact lenses

     require professional care, and thus patients can only obtain them with a valid prescription.

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            12.     In the United States, about 90 percent of contact lens wearers wear soft contact

     lenses, which are generally made of soft, flexible, water absorbing plastics or silicone hydrogel

     material that allow higher amounts of oxygen to pass through to the cornea. Most soft contact

     lenses are replaced daily, weekly, or monthly.

            13.     Each contact lens manufacturer uses unique manufacturing processes and most

     often unique materials to produce its contact lenses. The manufacturing process and material

     affect how contact lenses fit, how they correct vision, and the level of comfort they provide.

     Moreover, different contact lens brands vary on such features as base curve (the back curvature of

     the contact lens, measured in millimeters), diameter (the distance across a lens between one edge

     of the contact lens to the other edge), material (chemical make-up of the plastic), lens shape (type

     of curvatures on the front and back surfaces of the lens), flexure (flexibility of the lens on the

     eye), oxygen transmissibility (amount of oxygen that passes through the lens), water content

     (percentage of water/solution absorbed by the lens material), surface wettability (ease with which

     the tears adhere to the lens surface), center thickness (thickness at the center of the lens), edge

     thickness (thickness at edge of the lens), edge design (shape of the lens edge), surface

     characteristics/treatments, UV blocking, and interaction with lens care solutions.

            14.     Different combinations of these features affect the fit, efficacy, and safety of

     patients’ contact lenses. Thus, the professional judgment of an eye care practitioner, such as an

     optometrist or ophthalmologist, is required to select the appropriate pair of contact lens for each

     patient. In particular, soft contact lenses should cover the cornea adequately and center properly,

     while also being able to move enough to flush cellular and tear debris from behind the lenses;

     remain stable on the eye; transmit oxygen; and optically correct vision.




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            C.      Alcon’s DAILIES AQUACOMFORT PLUS®, and O2 OPTIX® Contact
                    Lenses

            15.     Beginning in May 2017, Alcon introduced new product packaging for its

     DAILIES AQUACOMFORT PLUS® sphere contact lenses distributed in the United States, a

     product that is often prescribed to patients who have not previously worn soft contact lenses.




            Front of Packaging                                   Back of Packaging




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            16.     The new product packaging includes several new patient-friendly educational

     elements, including (i) readily accessible detailed insertion and removal instructions, (ii) a toll-

     free patient helpline and email address to permit patients to contact Alcon directly with questions,

     and (iii) a dedicated DAILIES® website address for more at-home and online support.




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            17.     To enhance its ability to communicate with eye care practitioners and patients

     regarding issues that might affect the safety or efficacy of its products, Alcon also added U.S.-

     specific lot numbers to this packaging. These lot numbers can be used by Alcon to track its

     products through its supply chain in the event that Alcon needs to notify eye care practitioners or

     patients regarding any issues related to the safety or efficacy of the lenses, including, for example,

     any inaccuracies in the corrective power of the lenses.




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            18.       Alcon also updated the design of the front panel of the packaging, including the

     addition of its LIGHTSTREAM® technology trademark.




            19.       Finally, so that U.S. patients and eye care practitioners can readily confirm that

     they are receiving the benefits of the new product packaging, Alcon added an American flag to

     the packaging.




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            20.     Alcon first announced the new packaging to the eye care industry in a media alert

     issued on November 12, 2016, and sent additional follow-up communications regarding the

     packaging change to customers, authorized distributors, retailers, and eye care practitioners

     starting in spring 2017. Alcon did not limit these communications to entities with whom it had a

     direct relationship because it wanted everyone who sold DAILIES AQUACOMFORT PLUS®

     lenses to have advance notice of the packaging change so that they would have adequate time to

     update their inventory with the new products.

            21.     Beginning in May 2017, Alcon began to provide DAILIES AQUACOMFORT

     PLUS® lenses with the updated packaging directly to larger customers, such as Walmart and

     Costco, to authorized distributors, and to retailers with whom it has reseller agreements. To

     prevent confusion that could result if two different versions of the DAILIES AQUACOMFORT

     PLUS® lens packaging were available in the marketplace at the same time, and to make sure that

     all patients would receive the benefits of the additional information on the new packaging, Alcon

     required all customers, authorized distributors, retailers with whom it had contracts, and eye care

     practitioners to stop selling any DAILIES AQUACOMFORT PLUS® products in the prior

     packaging by June 16, 2017. They could then exchange with Alcon any of those products

     remaining in their inventory for products with the updated DAILIES AQUACOMFORT PLUS®

     packaging. Alcon’s sales representatives worked directly with eye care practitioners to assist in

     exchanging any older product in their inventories for products with the updated packaging.

            22.     Alcon also provided customers, authorized distributors, retailers with whom it had

     contracts, and eye care practitioners with photographs (i.e., box shots) and other marketing

     materials featuring the new packaging for the DAILIES AQUACOMFORT PLUS® products and

     asked that they update their marketing materials. These marketing materials were made available

     to Alcon’s partners through its marketing portal website at www.alconODmarketing.com.

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                23.   During July 2017, Alcon also sent letters to retailers with whom it did not have a

      relationship reminding them of the packaging change and informing them the older DAILIES

      AQUACOMFORT PLUS® product packaging was not authorized for sale in the United States

      after June 16, 2017.

                24.   To assure compliance with its requirement that the products in the prior packaging

      be exchanged for products in the new packaging, Alcon carefully monitored the return process for

      DAILIES AQUACOMFORT PLUS® products, and, during July 2017, sent letters to customers,

      authorized distributors, retailers with whom it had contracts, and some eye care practitioners

      whom it believed had not returned their inventory of DAILIES AQUACOMFORT PLUS®

      products in the prior packaging. On information and belief, substantially all of the prior

      DAILIES AQUACOMFORT PLUS® products were exchanged by Alcon’s customers, authorized

      distributors, retailers under contract, and eye care practitioners by July 31, 2017, but not quite all.

      Accordingly, Alcon sent a further communication to all customers, retailers under contract, and

      eye care practitioners reminding them of the importance of exchanging products in the prior

      packaging in their inventory for products with the updated packaging. Alcon also informed them

      that continued sales of DAILIES AQUACOMFORT PLUS® products with the older packaging

      would likely confuse patients and would be considered trademark infringement in the United

      States.

                25.   Further, Alcon regularly reviewed the websites of its customers, authorized

      distributors, retailers under contract, and eye care practitioners to assure that they had removed

      any depictions of the older DAILIES AQUACOMFORT PLUS® products. To the extent that

      they had not, Alcon contacted them during the summer of 2017 to remind them of the packaging

      change and to reiterate that the marketing materials and websites needed to be updated to show

      only the updated DAILIES AQUACOMFORT PLUS® products.

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               26.   Another contact lens product that Alcon manufactures is the O2 OPTIX® product.

      In an effort to streamline its product line, Alcon discontinued providing complimentary “fit sets”

      for the O2 OPTIX® lenses to eye care practitioners in the United States for use in fitting patients

      with O2 OPTIX® contact lenses in 2011. Because eye care practitioners do not normally

      prescribe contact lenses without first doing a fitting with a complimentary fit set, Alcon stopped

      distributing the O2 OPTIX® products in the United States about two years later, in 2013. Alcon

      distributes the O2 OPTIX® products only in certain markets outside of the United States.

               D.    Alcon’s Intellectual Property Rights

               27.   Alcon has taken all appropriate steps to protect its rights in the trademarks and

      trade dress used for its DAILIES AQUACOMFORT PLUS® products and O2 OPTIX® products.

      Specifically, Alcon owns the registrations and applications set forth below for its ALCON® mark

      (collectively, the “ALCON Marks”).

               28.   Alcon owns U.S. Trademark Registration No. 1,055,870 for the mark ALCON®

      for “cleaning, wetting, and soaking solutions for contact lenses,” which issued on January 11,

      1977. Alcon filed an affidavit under Section 15 of the Lanham Act on July 30, 1982, which was

      acknowledged by the United States Patent and Trademark Office. As a result, the registration is

      incontestable and considered to be conclusive evidence of the validity of the mark and

      registration, and of Alcon’s exclusive right to use the ALCON® trademark for the registered

      goods.

               29.   Alcon owns U.S. Trademark Registration No. 3,964,835 for the stylized ALCON®

      mark shown below for “cleaning, wetting, and soaking solutions for contact lenses,” which issued

      on May 24, 2011. Alcon filed an affidavit under Section 15 of the Lanham Act on October 26,

      2016, which was acknowledged by the United States Patent and Trademark Office. As a result,

      the registration is incontestable and considered to be conclusive evidence of the validity of the

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      mark and registration, and of Alcon’s exclusive right to use the stylized ALCON® trademark for

      the registered goods.




             30.     Alcon owns U.S. Trademark Registration No. 4,560,685 for the mark ALCON®

      for “contact lenses,” which issued on July 1, 2014. The registration is considered to be prima

      facie evidence of the validity of the mark and registration, and of Alcon’s exclusive right to use

      the ALCON® trademark for the registered goods.

             31.     Alcon also owns U.S. Application Serial No. 87/543,031 for the stylized ALCON

      mark shown below for “contact lenses.” This application was filed on July 26, 2017, and claims a

      first use anywhere and first use in commerce date of December 31, 2013. The mark was

      published for opposition on December 12, 2017. Alcon expects that the registration for the mark

      will issue by approximately March 2018.




             32.     Alcon also owns four copyrights in the DAILIES AQUACOMFORT PLUS®

      packaging visual artwork, for which applications are pending. These include Copyright Case

      Nos. 1-5682214719, 1-5682214531, 1-5496799089, and 1-5496798601.

             33.     Alcon’s parent, Novartis AG, owns the registrations and application below for

      marks that are used on Alcon’s DAILIES AQUACOMFORT PLUS® products (collectively, the

      “ALCON DACP Marks”).



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               34.   Novartis owns U.S. Trademark Registration No. 5,137,710, for the mark

      AQUACOMFORT PLUS® for “contact lenses,” which issued on February 7, 2017. The

      registration is considered to be prima facie evidence of the validity of the mark and registration,

      and of Alcon’s exclusive right to use the AQUACOMFORT PLUS® trademark for the registered

      goods.

               35.   Novartis also owns U.S. Registration No. 4,556,224, for the Teardrop Logo shown

      below for “contact lenses,” which issued on June 24, 2014. The registration is considered to be

      prima facie evidence of the validity of the mark and registration, and of Alcon’s exclusive right to

      use the Teardrop Logo for the registered goods.




               36.   Novartis also owns U.S. Trademark Registration No. 3,687,534, for the mark

      AQUACOMFORT® for “contact lenses,” which issued on September 22, 2009. Novartis filed an

      affidavit under Section 15 of the Lanham Act on September 9, 2015, which was acknowledged by

      the United States Patent and Trademark Office. As a result, the registration is incontestable and

      considered to be conclusive evidence of the validity of the mark and registration, and of Novartis’

      exclusive right to use the AQUACOMFORT® trademark for the registered goods.

               37.   Novartis also owns U.S. Trademark Registration No. 2,924,933, for the mark

      LIGHTSTREAM® for “contact lenses and optical lenses,” which issued on February 8, 2005.

      Novartis filed an affidavit under Section 15 of the Lanham Act on December 27, 2014, which was

      acknowledged by the United States Patent and Trademark Office. As a result, the registration is

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      incontestable and considered to be conclusive evidence of the validity of the mark and

      registration, and of Novartis’ exclusive right to use the LIGHTSTREAM® trademark for the

      registered goods.

             38.     Novartis also owns U.S. Registration No. 3,555,421 for the mark DAILIES

      AQUACOMFORT PLUS® for “contact lenses,” which issued on December 30, 2008. Novartis

      filed an affidavit under Section 15 of the Lanham Act on October 24, 2014, which was

      acknowledged by the United States Patent and Trademark Office. As a result, the registration is

      incontestable and considered to be conclusive evidence of the validity of the mark and

      registration, and of Novartis’ exclusive right to use the DAILIES AQUACOMFORT PLUS®

      trademark for the registered goods.

             39.     Novartis also owns U.S. Application Serial No. 87/586,440 for the trade dress for

      the front panel of the DAILIES AQUACOMFORT PLUS® products shown below for “contact

      lenses.” This application was filed on August 28, 2017, and claims a first use anywhere and first

      use in commerce date of May 31, 2017. This application has been examined and the only issue

      that was raised is a requirement for a slight modification to the description of the trade dress.

      Once Alcon responds to that office action, the mark will be approved for publication.




             40.     Novartis also owns the registrations below for marks that are used on Alcon’s O2

      OPTIX® products (collectively, the “O2 OPTIX Marks”).



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             41.     Novartis owns U.S. Registration No. 2,946,628 for the mark O2® for “contact

      lenses,” which was issued on May 3, 2005. Novartis filed an affidavit under Section 15 of the

      Lanham Act on February 19, 2001, which was acknowledged by the United States Patent and

      Trademark Office. As a result, the registration is incontestable and considered to be conclusive

      evidence of the validity of the mark and registration, and of Novartis’ exclusive right to use the

      O2® trademark for the registered goods.

             42.     Novartis owns U.S. Registration No. 3,308,130 for the mark O2 OPTIX® for

      “contact lenses,” which issued on October 9, 2007. Novartis filed an affidavit under Section 15

      of the Lanham Act on December 31, 2016, which was acknowledged by the United States Patent

      and Trademark Office. As a result, the registration is incontestable and considered to be

      conclusive evidence of the validity of the mark and registration, and of Novartis’ exclusive right

      to use the O2 OPTIX® trademark for the registered goods.

             43.     Novartis owns U.S. Registration No. 3,308,131 for the stylized O2 OPTIX® mark

      shown below for “contact lenses,” which issued on October 9, 2007. Novartis filed an affidavit

      under Section 15 of the Lanham Act on December 31, 2016, which was acknowledged by the

      United States Patent and Trademark Office. As a result, the registration is incontestable and

      considered to be conclusive evidence of the validity of the mark and registration, and of Novartis’

      exclusive right to use the stylized O2 OPTIX® trademark for the registered goods.




             44.     Novartis also owns U.S. Registration No. 3,429,280 for the CIBA VISION® mark

      for “contact lenses,” which issued on May 20, 2008. Novartis filed an affidavit under Section 15

      of the Lanham Act on November 7, 2017, which was acknowledged by the United States Patent
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      and Trademark Office. As a result, the registration is incontestable and considered to be

      conclusive evidence of the validity of the mark and registration, and of Novartis’ exclusive right

      to use the CIBA VISION® trademark for the registered goods. The CIBA VISION® mark is used

      on the packaging for the O2 OPTIX® lenses.

                45.   Novartis also owns U.S. Registration No. 4,425,860 for the stylized CIBA

      VISION® mark shown below for “contact lenses,” which issued on October 29, 2013. The

      registration is considered to be prima facie evidence of the validity of the mark and registration,

      and of Novartis’ exclusive right to use the stylized CIBA VISION® trademark for the registered

      goods. The stylized CIBA VISION® mark is also used on the packaging for the O2 OPTIX®

      lenses.




                46.   As a result of Alcon’s expenditures and efforts, the ALCON Marks, the ALCON

      DACP Marks, the O2 OPTIX Marks, the CIBA VISION mark, and the stylized CIBA VISION

      mark (collectively, “the ALCON Contact Lens Marks”) have come to signify the high quality of

      Alcon’s contact lens products. They have incalculable reputation and goodwill, belonging

      exclusively to Alcon and its parent, Novartis AG.

                E.    Lens.com’s Business and Wrongful Conduct

                47.   Beginning on August 1, 2017, Alcon conducted test buys to assure that only

      products in updated DAILIES AQUACOMFORT PLUS® packaging were being sold in the

      United States. It bought products from a variety of online sources, including retailers who had

      contracts with Alcon and retailers who were not under contract with Alcon. While the majority of


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      the retailers shipped DAILIES AQUACOMFORT PLUS® products in the updated and authorized

      packaging, a handful of them did not, including Lens.com, which was selling and shipping

      DAILIES AQUACOMFORT PLUS® products in packaging that is not authorized for sale in the

      United States. In some cases, Lens.com shipped one box of DAILIES AQUACOMFORT PLUS®

      lenses with the new packaging and one box of DAILIES AQUACOMFORT PLUS® with the

      prior packaging in the same order.

             48.     Lens.com advertises DAILIES AQUACOMFORT PLUS® with the prior

      packaging on its lens.com website, as well as on its affiliated websites, including justlenses.com,

      contactsamerica.com, opticalshoppe.com, and eurolens.com, but then ships DAILIES

      AQUACOMFORT PLUS® products with both the prior packaging and the new packaging. By

      advertising the outdated DAILIES AQUACOMFORT PLUS® packaging on its website,

      Lens.com infringes Alcon’s trademark rights in its ALCON Contact Lens Marks. Additionally,

      Lens.com misleads consumers into thinking those products are approved for sale in the U.S.

      Finally, by advertising the outdated packaging, yet shipping products in both the new and

      outdated packaging, Lens.com falsely advertises its available inventory.




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             49.     Based upon Alcon’s test buys, Alcon has determined that Lens.com has sold and

      shipped multiple contact lens orders to purchasers in New York, including shipments of DAILIES

      AQUACOMFORT PLUS® products in the prior packaging, and continues to ship such products

      to New York. For example, Lens.com filled a New York order placed as recently as

      December 27, 2017 with DAILIES AQUACOMFORT PLUS® products in the prior packaging.

             50.     The DAILIES AQUACOMFORT PLUS® products that Lens.com is shipping to

      patients in the United States is materially different from the DAILIES AQUACOMFORT PLUS®

      products that Alcon has authorized for sale in the United States and that are being sold by

      distributors and resellers who exchanged their older product inventory for products with the

      updated packaging in 2017. Specifically, they lack (i) U.S.-specific lot numbers, (ii) readily

      accessible detailed insertion and removal instructions, (iii) a toll-free patient helpline and email

      address to permit patients to more easily contact Alcon directly with questions, (iv) a dedicated

      DAILIES® website address for more at-home and online support, and (v) the American flag.

      Additionally, the packaging for the DAILIES AQUACOMFORT PLUS® products sold by

      Defendants retains content that Alcon no longer features on its U.S.-specific DAILIES

      AQUACOMFORT PLUS® sphere product, including text in languages other than English and

      Spanish, as well as Japanese regulatory text and a registration number. Both the front and the

      back of the packaging differ from the authorized DAILIES AQUACOMFORT PLUS®

      packaging, as shown below.




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                        Alcon Packaging                            Packaging used by Lens.com




             51.     Lens.com’s sale of products in packaging that is materially different from the

      DAILIES AQUACOMFORT PLUS® packaging that Alcon distributes in the United States causes

      consumers to be confused, or to believe that the packaging sold by Lens.com is the same as the

      DAILIES AQUACOMFORT PLUS® products sold by Alcon in the United States, when they are

      not. Consumers who receive a single order with DAILIES AQUACOMFORT PLUS® products

      in the new packaging together with DAILIES AQUACOMFORT PLUS® in the prior packaging

      will be particularly confused as they will receive products that are materially different from each

      other in a single order. As such, Lens.com’s sales of DAILIES AQUACOMFORT PLUS®

      products in prior packaging violate Sections 32 and 43(a) of the Lanham Act.


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             52.      Lens.com’s sale of DAILIES AQUACOMFORT PLUS® products in the prior

      packaging also deprives contact lens patients in the United States of important safety and usage

      information that Alcon includes on the packaging that it uses for DAILIES AQUACOMFORT

      PLUS® products that are distributed in the United States. It also deprives Alcon of the ability to

      rely on its U.S.-specific lot number system to notify U.S. eye care practitioners and patients in the

      event that there is an issue with any of its DAILIES AQUACOMFORT PLUS® products. Each

      of these consequences, among others, negatively impacts the safety and well-being of contact lens

      consumers, and harms Alcon’s reputation and goodwill.

             53.      In addition to selling DAILIES AQUACOMFORT PLUS® products with the older

      packaging, Lens.com is selling another product that Alcon does not distribute in the United

      States. According to the test buys that Alcon has done, Lens.com is selling O2 OPTIX® lenses

      even though Alcon stopped selling those products in the United States in 2013 and no longer

      supports those products in the United States.

             54.      Lens.com’s sales of unsupported O2 OPTIX® products in the United States will

      cause consumers to be confused, or to believe that the products sold by Lens.com continue to be

      supported by Alcon in the U.S. market when they are not. As such, Lens.com’s sales of O2

      OPTIX® products in the United States violate Sections 32 and 43(a) of the Lanham Act.

             55.      By selling O2 OPTIX® lenses in the United States, a market in which Alcon does

      not offer this product, Lens.com has removed the necessary transparency of the market. If a

      recall or other notification to retailers, eye care practitioners, or patients were required, it would

      be more difficult for Alcon to effectively communicate the recall to all necessary parties.

      Accordingly, Defendants’ misconduct puts consumers at risk and jeopardizes Alcon’s reputation

      and goodwill.



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              56.     If Lens.com continues its wrongful conduct, Alcon is and will continue to be

      irreparably harmed, including through loss of goodwill, reputation, and the ability to monitor the

      supply chain for Alcon products being sold in the United States, which could interfere with

      Alcon’s ability to communicate with eye care practitioners or patients regarding their Alcon

      lenses, or for Alcon to keep counterfeit products out of the United States. Such irreparable harm

      will continue unless Lens.com is restrained from its continuing violation of the Lanham Act.

      Alcon has no adequate remedy at law.

                                     FIRST CLAIM FOR RELIEF
                              Trademark Infringement Under 15 U.S.C. § 1114

              57.     Alcon repeats and realleges each allegation set forth in paragraphs 1 through 56

      above as if fully set forth herein.

              58.     The acts of Lens.com described above constitute trademark infringement in

      violation of Section 32 of the Lanham Act, 15 U.S.C. § 1114.

              59.     Alcon and its parent Novartis have valid and protectable rights in each of the

      registered ALCON Contact Lens Marks. These rights predate Lens.com’s sale of DAILIES

      AQUACOMFORT PLUS® products that are materially different from the DAILIES

      AQUACOMFORT PLUS® products that Alcon has distributed in the United States since at least

      as early as May 2017, as well as Lens.com’s sales of the discontinued O2 OPTIX® products.

              60.     On information and belief, Lens.com had actual knowledge of Alcon’s ownership

      and use of the ALCON Marks prior to May 2017, and of the change to the DAILIES

      AQUACOMFORT PLUS® packaging that would take place in May 2017.

              61.     Alcon has not authorized Lens.com to use any of the ALCON Contact Lens Marks

      in connection with the sale of any Alcon contact lens products.

              62.     Lens.com’s unauthorized use of the registered ALCON Contact Lens Marks as

      alleged above is likely to cause confusion, mistake, or deception on the part of consumers as to
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      the source, nature, and quality of the goods Lens.com is offering under the registered ALCON

      Contact Lens Marks, constituting trademark infringement in violation of 15 U.S.C. § 1114.

              63.      As a direct and proximate result of Lens.com’s wrongful conduct, Alcon has been,

      is now, and will continue to be irreparably injured and damaged by Lens.com’s aforementioned

      acts, and unless Lens.com is enjoined by the Court, Alcon will suffer further harm to its name,

      reputation, and goodwill. This harm constitutes an injury for which Alcon has no adequate

      remedy at law.

              64.      On information and belief, Lens.com has acted willfully to usurp Alcon’s rights,

      and Lens.com should be held liable to Alcon for treble damages and attorneys’ fees pursuant to

      15 U.S.C. § 1117(a).

                                      SECOND CLAIM FOR RELIEF
                            False Designation of Origin Under 15 U.S.C. § 1125(a)

              65.      Alcon repeats and realleges each allegation set forth in paragraphs 1 through 64

      above as if fully set forth herein.

              66.      The acts of Lens.com described above constitute unfair competition and false

      designation of origin in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

              67.      Alcon has valid and protectable rights in the ALCON Contact Lens Marks. These

      rights predate Lens.com’s sale of DAILIES AQUACOMFORT PLUS® products that are

      materially different from the DAILIES AQUACOMFORT PLUS® products that Alcon has

      distributed in the United States since at least as early as May 2017, as well as Lens.com’s sales of

      the discontinued O2 OPTIX® products in the United States.

              68.      On information and belief, Lens.com had actual knowledge of Alcon’s and

      Novartis’s ownership and use of the ALCON Marks and the ALCON DACP Marks prior to May

      2017, and of the change to the DAILIES AQUACOMFORT PLUS® packaging that would take

      place in May 2017.
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              69.      On information and belief, Lens.com also had actual knowledge of Alcon’s and

      Novartis’s ownership and use of the O2 OPTIX® Marks, the CIBA VISION® mark, and the

      stylized CIBA VISION® mark prior to when Alcon discontinued selling those products in the

      United States, in approximately 2013.

              70.      Lens.com’s unauthorized use of the ALCON Contact Lens Marks as alleged above

      is likely to cause consumers to believe that there is a relationship between Lens.com and Alcon

      and/or that Lens.com’s products come from Alcon. Such association constitutes false designation

      of origin, in violation of 15 U.S.C. § 1125(a).

              71.      As a direct and proximate result of Lens.com’s wrongful conduct, Alcon has been,

      is now, and will continue to be irreparably injured and damaged by Lens.com’s aforementioned

      acts, and unless Lens.com is enjoined by the Court, Alcon will suffer further harm to its name,

      reputation, and goodwill. This harm constitutes an injury for which Lens.com has no adequate

      remedy at law.

              72.      On information and belief, Lens.com has acted willfully to usurp Alcon’s rights,

      with full knowledge of and intent to cause harm to Alcon, and Lens.com should be held liable to

      Alcon for treble damages and attorneys’ fees pursuant to 15 U.S.C. § 1117(a).

                                      THIRD CLAIM FOR RELIEF
                   Deceptive Trade Practices Under New York General Business Law § 349

              73.      Alcon repeats and realleges each allegation set forth in paragraphs 1 through 72

      above as if fully set forth herein.

              74.      The acts of Lens.com described above constitute consumer-oriented deceptive

      trade practices under New York General Business Law § 349.

              75.      Lens.com’s sale of DAILIES AQUACOMFORT PLUS® products in packaging

      that is materially different from the DAILIES AQUACOMFORT PLUS® products that Alcon has

      distributed in the United States since at least as early as May 2017 has caused and will cause
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      specific and direct harm to consumers in New York and to the public interest. The sale or

      distribution of DAILIES AQUACOMFORT PLUS® lenses in the prior packaging without U.S.-

      specific lot numbers, readily accessible detailed use instructions, a toll-free patient helpline and

      email address, a dedicated DAILIES® support website address, and the identifying American flag,

      harms consumers and impacts public safety by, among other things, reducing consumers’ ability

      to access important safety and use information and impairing Alcon’s quality control, consumer

      communication, and supply chain monitoring measures.

              76.      Lens.com’s sale of O2 OPTIX® products that Alcon no longer distributes or

      supports in the United States has caused and will cause specific and direct harm to consumers in

      New York and to the public interest. Because Lens.com is improperly selling or distributing O2

      OPTIX® lenses in the United States, outside of Alcon’s transparent distribution market, Lens.com

      is harming consumers by impeding Alcon’s ability to effectively communicate with consumers,

      eye care practitioners, and retailers in the event of a recall or other notification.

              77.      As a direct and proximate result of Lens.com’s wrongful conduct, Alcon has been,

      is now, and will continue to be irreparably injured and damaged by Lens.com’s aforementioned

      acts, and unless Lens.com is enjoined by the Court, Alcon will suffer further harm to its name,

      reputation, and goodwill. This harm constitutes an injury for which Lens.com has no adequate

      remedy at law.

              78.      On information and belief, Lens.com has acted willfully to usurp Alcon’s rights,

      with full knowledge of and intent to cause harm to Alcon.

                                      FOURTH CLAIM FOR RELIEF
                       False Advertising Under New York General Business Law § 350

              79.      Alcon repeats and realleges each allegation set forth in paragraphs 1 through 78

      above as if fully set forth herein.


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             80.     The acts of Lens.com described above constitute false advertising under New York

      General Business Law § 350.

             81.     Lens.com’s unauthorized use of the ALCON Contact Lens Marks as alleged above

      is likely to cause consumers to believe that there is a relationship between Lens.com and Alcon

      and/or that Lens.com’s products come from Alcon. Such association constitutes false advertising

      under New York General Business Law § 350.

             82.     Lens.com’s advertisement of O2 OPTIX® products on its websites deceives

      customers into believing that such lenses are approved for sale in the United States. Such

      materially misleading advertising is harmful to consumers as it leads them to believe the products

      they are purchasing are genuine, when instead Lens.com is impairing Alcon’s quality control,

      consumer communication, and supply chain monitoring measures.

             83.     Additionally, Lens.com’s advertisement of prior Alcon product packaging is

      materially misleading to consumers for several reasons. First, the use of the prior packaging on

      Lens.com’s website infringes Alcon’s trademark rights in its ALCON Contact Lens Marks.

      Second, the advertisement of the prior packaging misleads consumers into thinking such product

      is approved for sale in the U.S. Third, the advertisement of the prior product packaging and the

      later shipment of both new and outdated packaging deceives customers into believing they will

      receive products that are approved for sale in the United States. Such materially misleading

      advertising is harmful to consumers who receive products for which Alcon’s quality control,

      consumer communication, and supply chain monitoring is impaired.

             84.     As a direct and proximate result of Lens.com’s wrongful conduct, Alcon has been,

      is now, and will continue to be irreparably injured and damaged by Lens.com’s aforementioned

      acts, and unless Lens.com is enjoined by the Court, Alcon will suffer further harm to its name,



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      reputation, and goodwill. This harm constitutes an injury for which Lens.com has no adequate

      remedy at law.

              85.      On information and belief, Lens.com has acted willfully to usurp Alcon’s rights,

      with full knowledge of and intent to cause harm to Alcon.

                                     FIFTH CLAIM FOR RELIEF
                          Trademark Infringement Under New York Common Law

              86.      Alcon repeats and realleges each allegation set forth in paragraphs 1 through 85

      above as if fully set forth herein.

              87.      The acts of Lens.com described above constitute trademark infringement under the

      common law of the State of New York.

              88.      As a direct and proximate result of Lens.com’s wrongful conduct, Alcon has been,

      is now, and will continue to be irreparably injured and damaged by Lens.com’s aforementioned

      acts, and unless Lens.com is enjoined by the Court, Alcon will suffer further harm to its name,

      reputation, and goodwill. This harm constitutes an injury for which Alcon has no adequate

      remedy at law.

                                      SIXTH CLAIM FOR RELIEF
                             Unfair Competition Under New York Common Law

              89.      Alcon repeats and realleges each allegation set forth in paragraphs 1 through 88

      above as if fully set forth herein.

              90.      The acts of Lens.com described above constitute unfair competition under the

      common law of the State of New York.

              91.      As a direct and proximate result of Lens.com’s wrongful conduct, Alcon has been,

      is now, and will continue to be irreparably injured and damaged by Lens.com’s aforementioned

      acts, and unless Lens.com is enjoined by the Court, Alcon will suffer further harm to its name,




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      reputation, and goodwill. This harm constitutes an injury for which Alcon has no adequate

      remedy at law.

                                            PRAYER FOR RELIEF

             WHEREFORE, Alcon prays for judgment as follows:

             1.        That judgment be entered in favor of Alcon and against Lens.com on each and

      every Claim of this Complaint;

             2.        For entry of an order and judgment requiring that Lens.com and its officers,

      agents, servants, employees, owners, and representatives, and all other persons, firms, or

      corporations in active concert or participation with it, be enjoined during the pendency of this

      action and permanently thereafter from (a) using in any manner the ALCON Contact Lens Marks

      in connection with the sale of any product that is materially different from products that Alcon

      distributes in the United States; (b) doing any act or thing calculated or likely to cause confusion

      or mistake in the minds of the members of the public or prospective customers as to the source of

      the products offered or distributed by Lens.com, or likely to confuse members of the public, or

      prospective customers, into believing that there is some connection between Alcon and Lens.com

      or any other entity owned by or associated with Lens.com; (c) otherwise competing unfairly with

      Alcon in any manner; or (d) assisting, aiding, or abetting any other person or business entity in

      engaging in or performing any of the activities referred to in parts (a) through (c) of this

      paragraph 2;

             3.        For entry of an order and judgment directing Lens.com, pursuant to

      15 U.S.C.§ 1116(a), to file with this Court and serve upon Alcon within thirty (30) days after

      entry of the injunction, a report in writing under oath setting forth in detail the manner and form

      in which Lens.com has complied with the injunction and ceased selling Alcon products that are

      materially different from products that Alcon distributes in the United States, including but not

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      limited to O2 OPTIX® products, and DAILIES AQUACOMFORT PLUS® products that are

      materially different from the DAILIES AQUACOMFORT PLUS® products that Alcon distributes

      in the United States;

             4.      For entry of an order and judgment directing Lens.com to disclose to Alcon all of

      Lens.com’s suppliers of Alcon products;

             5.      For a judgment in the aggregate amount of (a) Lens.com’s profits, (b) Alcon’s

      actual damages, (c) the costs of this action pursuant to 15 U.S.C. § 1117, and (d) restitution

      and/or disgorgement of all revenues, earnings, profits, compensation, and benefits that may have

      been obtained by Lens.com as a result of its unlawful, unfair, and/or fraudulent business acts or

      practices;

             6.      That the Court award enhanced damages pursuant to 15 U.S.C. § 1117(a);

             7.      That the Court award prejudgment interest on all amounts awarded;

             8.      That the Court award Alcon reasonable attorneys’ fees; and

             9.      That the Court award such other relief as it deems just and proper.


                                        DEMAND FOR JURY TRIAL


             Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Alcon hereby demands

      trial by jury on all issues raised by the Complaint.




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      Dated: New York, New York          MORRISON & FOERSTER LLP
             January 19, 2018
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